       Case 3:07-cv-05944-JST Document 746 Filed 08/10/10 Page 1 of 2




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 8
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     Toshiba America Information Systems, Inc.,
10
     Toshiba America Consumer Products, L.L.C.,
11   and Toshiba America Electronic Components, Inc.
12
                             UNITED STATES DISTRICT COURT
13                          NORTHERN DISTRICT OF CALIFORNIA
                               (SAN FRANCISCO DIVISION)
14
15
16   IN RE: CATHODE RAY TUBE (CRT)                              Case No. 07-5944 SC
     ANTITRUST LITIGATION                                         MDL No. 1917
17
18
                                                        [PROPOSED] ORDER GRANTING
     This Document Relates to:
19                                                       AMENDED APPLICATION FOR
20                                                      ADMISSION OF ATTORNEY PRO
     ALL ACTIONS
                                                                 HAC VICE
21
22
          Upon consideration of the Amended Application for Admission of Attorney Pro Hac
23
     Vice filed by Dana E. Foster, whose business address and telephone number is White &
24
     Case LLP, 701 Thirteenth Street, N.W., Washington, DC 20005, (202) 626-3600, and who
25
     is an active member in good standing of the bar of the State of New York, having applied
26
     in the above-entitled action for admission to practice in the United States District Court for
27
     the Northern District of California on a pro hac vice basis, representing Defendants
28
     Toshiba Corporation, Toshiba America, Inc., Toshiba America Information Systems, Inc.,

                       [PROPOSED] ORDER GRANTING AMENDED APPLICATION
                           FOR ADMISSION OF ATTORNEY PRO HAC VICE
                                       Case No. 07-5944 SC
                                         MDL No. 1917
       Case 3:07-cv-05944-JST Document 746 Filed 08/10/10 Page 2 of 2




 1   Toshiba America Consumer Products, L.L.C., and Toshiba America Electronic
 2   Components, Inc.;
 3
          IT IS HEREBY ORDERED that the amended application is granted, subject to the
 4
     terms and conditions of Rule 11-3 of the Local Rules of Practice in Civil Proceedings
 5
     before the United States District Court for the Northern District of California. All papers
 6
     filed by the attorney must indicate appearance pro hac vice. Service of papers upon and
 7
     communication with co-counsel designated in the application will constitute notice to the
 8
     party. All future filings in this action are subject to the requirements contained in General
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     Order No. 45, Electronic Case Filing.
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12    Dated: __________________, 2010                                          D
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                                                     Samuel Conti,
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14                                                                             Judge S




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                       [PROPOSED] ORDER GRANTING AMENDED APPLICATION
                           FOR ADMISSION OF ATTORNEY PRO HAC VICE
                                       Case No. 07-5944 SC
                                         MDL No. 1917
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